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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 US DOMINION, INC., DOMINION                      )
 VOTING SYSTEMS, INC., and DOMINION               )
 VOTING SYSTEMS CORPORATION,                      )
                                                  )
        Plaintiffs,                               )
                                                  )
            v.                                    )     Case No. 1:21-cv-00040-CJN
                                                  )
 SIDNEY POWELL, SIDNEY POWELL,                    )
 P.C., and DEFENDING THE REPUBLIC,                )
 INC.,                                            )
                                                  )
        Defendants.                               )

                         PLAINTIFFS’ MOTION FOR
          ADMISSION PRO HAC VICE OF ATTORNEY BRITTANY FOWLER

       Pursuant to Local Civil Rule 83.2(d) of the United States District Court for the District of

Columbia, Plaintiffs US Dominion, Inc., Dominion Voting Systems, Inc., and Dominion Voting

Systems Corporation move for the admission and appearance of attorney Brittany Fowler pro hac

vice in the above-entitled action. This motion is supported by the Declaration of Brittany Fowler,

filed herewith. As set forth in Ms. Fowler’s declaration, she is admitted and in good standing in

the following bars and courts: State Bars of California and Texas; all California and Texas State

Courts; the United States District Courts for the Central and Northern Districts of California; the

United States District Court for the Southern District of Texas; and the United States Court of

Appeals for the Ninth Circuit.
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       This motion is supported and signed by Thomas A. Clare, P.C., an active and sponsoring

member of the Bar of this Court.


 Dated: March 26, 2021                 Respectfully submitted,

                                       /s/ Thomas A. Clare, P.C.
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                                       Counsel for Plaintiffs




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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document will be filed with

the Clerk of Court using the CM/ECF system on March 26, 2021, which will send notification of

such filing to the following:

Lawrence J. Joseph
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                                            /s/Thomas A. Clare, P.C.
                                            Thomas A. Clare, P.C.




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